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UNITED STATES DISTRICT COURT

DISTRICT OF §AWAII

UN:TES STATES ©F AMER:CA, NO. CR GQWUGG§S HS
Pl§in§iff, FENDANT RODNE LY ASUBGA’S
ATTACHEB RHSNCTEQ
v. CBRT§FICATE GF DEATH §§

S§PPORT OF MCTION TG DISM§SS
RO:FWY ASUEGA,

Defendan§.

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